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 8

 9                                UNITED STATES DISTRICT COURT
10                             NORTHERN DISTRICT OF CALIFORNIA
11
                                      SAN FRANCISCO DIVISION
12
     IN RE: CATHODE RAY TUBE (CRT)            Master File No. CV-07-5944-JST
13   ANTITRUST LITIGATION
                                              MDL No. 1917
14

15                                            DECLARATION OF MARIO N. ALIOTO IN
     This Document Relates to:                SUPPORT OF INDIRECT PURCHASER
16                                            PLAINTIFFS’ MOTION FOR FINAL
     All Indirect Purchaser Actions           APPROVAL OF CLASS ACTION
17                                            SETTLEMENTS WITH THE PHILIPS,
                                              PANASONIC, HITACHI, TOSHIBA,
18                                            SAMSUNG SDI, TECHNICOLOR, AND
                                              TECHNOLOGIES DISPLAYS AMERICAS
19                                            DEFENDANTS

20                                            Hearing Date: March 15, 2016
                                              Time: 2:00 p.m.
21                                            Judge: Honorable Jon S. Tigar
                                              Court: Courtroom 9, 19th Floor
22                                            Before: Special Master Martin Quinn, JAMS

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28   DECLARATION OF MARIO N. ALIOTO IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’ MOTION FOR
            FINAL APPROVAL OF CLASS ACTION SETTLEMENTS - Master File No. CV-07-5944-JST
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 1              I, Mario N. Alioto, declare:

 2              1.     I am an attorney duly licensed by the State of California and am admitted to

 3    practice before this Court. I am a partner with the law firm Trump, Alioto, Trump & Prescott,

 4    LLP and my firm serves as Lead Counsel for the Indirect Purchaser Plaintiffs (“IPPs”) in the

 5    above-captioned action. The matters set forth herein are within my personal knowledge and if

 6    called upon and sworn as a witness I could competently testify regarding them; and as to matters

 7    on stated on information and belief, I believe them to be true.

 8              2.     IPPs filed their motions for preliminary approval of the Proposed Settlements on

 9    May 29, 2015. (Dkt. No. 3861.) The Court granted preliminary approval on July 9, 2015. (Dkt.

10    No. 3906.) Pursuant to the Preliminary Approval Order, I directed The Notice Company to

11    provide notice to class members in accordance with the notice program approved by the Court.

12              3.     I am informed and believe that notice of the settlements was provided to class

13    members in accordance with the notice program provided by the Court. See Declaration of

14    Joseph M. Fisher Reporting on Notice Program, filed herewith.

15              4.     Eleven objections on behalf of 22 objectors have been filed. Only five requests

16    for exclusion were received. Two of the requests for exclusion were by Direct Action Plaintiffs

17    (“DAPs”) that are already pursuing their own cases. Thus, there are actually only three requests

18    for exclusions. Pursuant to the Settlement Agreements, I have provided the list of exclusions to

19    Defendants. Copies of the exclusion letters are attached to the Declaration of Joseph M. Fisher

20    Reporting on the Class Notice Program as Exhibit Y.

21              5.     Three of the objections were lodged by four attorneys who have represented class

22    members in this litigation: Josef Cooper, Francis O. Scarpulla, Robert Bonsignore and Theresa

23    Moore (the “Insider Objectors”).

24              6.     Seven additional objections1 were filed or orchestrated behind the scenes by so-

25    called “professional objectors.” See Additional Declaration of Robert J. Gralewski, Jr. In

26    Support of Indirect Purchaser Plaintiffs’ Motion For Final Approval of Class Action Settlements

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28        Two of these, the Palmer and St. John objections, are directed at fees only—not the settlements.
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 1    With Philips, Panasonic, Hitachi, Toshiba, Samsung SDI, Thomson, and TDA Defendants,

 2    Appendices A through N, filed herewith. Many of the attorneys representing these objectors

 3    have been reprimanded by courts for seeking personal gain at the expense of class members. Id.

 4    Two of the objectors, Paul Palmer and Gordon Morgan, have moved to withdraw their

 5    objections. (See Dkt. Nos. 4130 and 4165.)

 6    Insider Objectors

 7            7.      Before filing the motion for preliminary approval of the Proposed Settlements, my

 8    office contacted Mr. Bonsignore and John Bogdanov, Mr. Cooper’s partner,2 along with other

 9    counsel for the other Court-appointed class representatives, to obtain their and their clients’ input

10    on the Proposed Settlements, the notice program and the plan of distribution.

11            8.      In an email dated May 27, 2015, my office sent Messrs. Bonsignore and

12    Bogdanov copies of the final preliminary approval papers and asked that they review them with

13    their clients and contact Lead Counsel to discuss any issues they might have. Attached hereto as

14    Exhibit A are true and correct copies of an e-mail and a letter, both dated May 27, 2015, to Mr.

15    Bonsignore and Cooper, among others.

16            9.      Messrs. Bonsignore and Bogdanov did not respond to the May 27, 2015 email,

17    implicitly approving the settlement class definitions, the notice program, and the plan of

18    distribution.

19            10.     Ms. Moore has represented in recent court filings that she is counsel of record for

20    several class representatives: Brian Luscher (AZ); Margaret Slagle (VT); and Barry Kushner

21    (MN). See Dkt. No. 4076. Ms. Moore has never been the contact for these class representatives,

22    so she was not included on our May 27, 2015 email. Ms. Moore’s co-counsel for these class

23    representatives, Dan Karon, was served with the preliminary approval papers on May 27, 2015,

24    and did not voice any concerns on behalf of these class representatives. The fact that Ms. Moore

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27     Mr. Cooper’s firm is counsel of record for one of the California class representatives, Steven
      Ganz. My office sent the email to Mr. Cooper’s partner, John Bogdanov, because he had
28    previously been the contact for Mr. Ganz.
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 1    has now filed objections on behalf of different clients indicates that the class representatives did

 2    not agree with her objections to the Proposed Settlements, or that she never represented them.

 3            11.     In addition, IPPs’ papers in support of preliminary approval, once filed on May

 4    29, 2015, clearly explained the settlement terms, the notice program, and the plan of distribution.

 5    (See Dkt. No. 3861.) Thus, the Insider Objectors, all of whom receive notice of electronic filings

 6    in this case through the Court’s ECF notices, were able to review the proposed settlements and

 7    the proposed notice plan. None of them contacted Lead Counsel to voice concerns.

 8            12.     Messrs. Scarpulla and Cooper filed “conditional objections” to the Proposed

 9    Settlements and the motion for preliminary approval. (Dkt. Nos. 3874 & 3880.) These

10    conditional objections focused solely on the allocation of any prospective fee award by Lead

11    Counsel. Thus, Messrs. Scarpulla and Cooper clearly read and paid close attention to the

12    Proposed Settlement terms and the motion for preliminary approval. Yet, they raised none of the

13    issues they now raise regarding the settlement class definition, the notice program or the plan of

14    distribution.

15            13.     Similarly, Mr. Bonsignore and Ms. Moore never informed Lead Counsel of their

16    objections to the settlements until they filed those objections with the Court. In addition to being

17    served with the preliminary approval papers, both Mr. Bonsignore and Ms. Moore were in

18    contact with Lead Counsel and/or members of the Audit Committee on multiple occasions during

19    the auditing process. They had many opportunities to voice the concerns they now raise. Yet

20    neither gave any indication that they planned to object to the Proposed Settlements until after

21    they were informed that their lodestars had been substantially reduced by the Audit Committee,

22    as further described below.

23            14.     Prior to filing the motion for attorneys’ fees, my office instructed all counsel who

24    wished to be included in the joint fee motion to submit their time and expenses to me, and

25    complete a declaration in support of their firm’s fee request. I provided a template declaration

26    and instructed counsel to categorize their time for each year in one of 12 categories, and enter

27    those categories in a chart that my firm had prepared. These 12 categories were utilized in the

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 1    LCD case (where I was also counsel of record) and approved by the court in that case. All

 2    counsel were also instructed to calculate their lodestar using historical rates.

 3           15.     I implemented a number of measures to ensure that the lodestar submitted to the

 4    Court is fair and reasonable. See Alioto Fee Decl. I ¶ 118. One of these measures was the

 5    formation of an Audit Committee to conduct an in-depth review of IPP Counsel’s time records.

 6    All firms were audited and most firms’ lodestars were reduced – some substantially. The Insider

 7    Objectors ignored Lead Counsel’s instructions for calculating their lodestars and failed to

 8    implement the Audit Committee’s proposed cuts. All of the Insider Objectors’ time records and

 9    the Audit Committee’s notes and communications with the Insider Objectors will be made

10    available to the Special Master for inspection upon request.

11    Scarpulla

12           16.     Mr. Scarpulla had only a very small role in this case. In fact, he was completely

13    absent for most of 2010 through 2012 due to his lead role in the LCD case. He did almost no

14    substantive work in this case. The substantive work of his former firm, Zelle Hofmann, was

15    performed by other capable partners and associates at that firm, including Craig Corbitt,

16    Christopher Micheletti, Judith Zahid and Qianwei Fu. The majority of Mr. Scarpulla’s time

17    appears to have been spent discussing the case with other members of his firm (which is of

18    questionable value given that the case was already well-staffed by senior Zelle partners), and

19    most often with Assistant California Attorney General, Emilio Varanini. Apart from reading the

20    public filings, Mr. Scarpulla has no personal knowledge of the work done in this case by any firm

21    other than his own, and no basis to make any of the accusations he makes in his objections to the

22    settlements.

23           17.     Mr. Scarpulla submitted all of his time, the vast majority of which was not

24    assigned by me or anyone at my firm, at his current hourly rate of $1250. In addition, he did not

25    submit the chart categorizing his time and his declaration did not follow the template my firm had

26    provided.

27           18.     Members of the Audit Committee attempted to contact Mr. Scarpulla to discuss

28    the time he was seeking for work on this case. Despite several attempts to contact Mr. Scarpulla,
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 1    they were unable to do so. Shortly before filing the joint fee petition, I attempted to contact Mr.

 2    Scarpulla to discuss his time, which was not in conformance with certain time reporting

 3    guidelines the Audit Committee had established in this case. I also was unable to contact Mr.

 4    Scarpulla to discuss his time. Attached hereto as Exhibits B and C are true and correct copies of

 5    emails sent by me and the Audit Committee to Mr. Scarpulla regarding the problems with his

 6    time.

 7            19.    The Audit Committee reviewed Mr. Scarpulla’s time records and cut entries

 8    reflecting categories of time that I had instructed all IPP Counsel to exclude. The Audit

 9    Committee then calculated a much-reduced lodestar for Mr. Scarpulla using his more reasonable,

10    historical rates. I included this reduced lodestar for Mr. Scarpulla in the total lodestar submitted

11    in the joint fee motion.

12            20.    Mr. Scarpulla filed a separate fee declaration and was not included in the joint fee

13    motion. He did not file a motion for attorney’s fees. Mr. Scarpulla has embarked on a course of

14    action designed the delay the approval of the settlements and the award of attorneys’ fees to

15    counsel in this case.

16            21.    Contrary to Mr. Scarpulla’s assertions, I had the necessary experience and

17    resources to lead this case. I have been involved in a number of jury trials in state and federal

18    court, including the trial of antitrust cases as the lead trial lawyer. I have handled approximately

19    30 appeals as well. I was counsel in the landmark decision Crown Oil v. Superior Court, 177

20    Cal. App. 3d 604 (1986), which upheld the right of indirect purchasers to sue under the

21    Cartwright Act after their claims had been barred under federal law by the decision in Illinois

22    Brick v. Illinois, 431 U.S. 720 (1977). In addition to my appointment as sole Lead Counsel for

23    the Indirect Purchaser Plaintiffs in this case, I was appointed as co-lead counsel for the indirect

24    purchaser plaintiffs in two post-Class Action Fairness Act MDLs: In re OSB Antitrust Litig.,

25    Case No. 06-00826-PSD (E.D. Pa. 2007); and In Re: Aftermarket Filters Antitrust Litig., Master

26    File No. 1:08-cv-4883-RWG, MDL 1957 (N.D. Ill. Oct. 7, 2008). See Curriculum Vitae of

27    Mario N. Alioto, Dkt. No. 4073-1, Ex. 1.

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 1            22.    I did not abrogate my responsibility as the Court-appointed Lead Counsel in this

 2    case, or ask any other firm to perform my duties, or make any “shadow” co-lead agreement with

 3    any firm in this case. I did not request the Zelle firm to exclude any time of Mr. Scarpulla,

 4    although I am aware of the exclusion of this time by the Audit Committee in accordance with

 5    guidelines that were implemented by the Audit Committee and applied generally to all firms in

 6    this case.

 7    Bonsignore

 8            23.    Mr. Bonsignore submitted a fee declaration for inclusion in the joint fee petition.

 9    The IPPs’ Audit Committee could not include Mr. Bonsignore’s fee declaration in the joint fee

10    petition because there were problems with both the time and expenses he reported. Mr.

11    Bonsignore was afforded an opportunity to revise his fee declaration, but he refused to do so.3

12    Instead, he filed his own fee declaration separate from the joint fee petition. He has not filed a

13    motion for attorneys’ fees.

14            24.    Mr. Bonsignore is seeking the reimbursement of $25,000 he claims to have

15    contributed to the litigation fund in this case. Our records do not show receipt of this amount

16    from Mr. Bonsignore. We asked Mr. Bonsignore for a bank record showing proof that this

17    amount had been paid. Mr. Bonsignore did not provide us with a bank record, only a self-

18    generated document referencing the $25,000 amount. Since there is doubt as to whether Mr.

19    Bonsignore paid this amount, and since Mr. Bonsignore has not corroborated the payment, I have

20    not approved this amount for reimbursement to Mr. Bonsignore.

21            25.    As a result, Mr. Bonsignore has embarked on a campaign of false and derogatory

22    statements directed at undersigned counsel and other counsel in this case. These are without any

23    evidentiary support and, as such, need not be addressed herein, other than to say they are

24    generally denied. In addition, Mr. Bonsignore’s claims as to his contributions to the case need

25    not be addressed herein. They will be addressed at the fee allocation stage.

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27      Robert Gralewski of Kirby McInerney was the member of the Audit Committee assigned to
      review Mr. Bonsignore’s time and expense submissions. Mr. Gralewski is filing a separate
28    declaration regarding his interactions with Mr. Bonsignore.
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 1            26.    The Audit Committee informed Mr. Bonsignore of the cuts to his lodestar on

 2    September 16, 2015. Two weeks prior to this, on August 31, 2015, Mr. Bonsignore posted

 3    information on his firm’s website endorsing the Proposed Settlements and providing instructions

 4    for filing a claim. Attached hereto as Exhibit D is a true and correct copy of a screen shot from

 5    Mr. Bonsignore’s firm website.

 6            27.    Mr. Bonsignore has submitted copies of two emails dated March 5, 2012 and

 7    March 6, 2012 (Dkt. Nos. 4144-3 and 4144-5, respectively), which are highly suspicious. First, I

 8    do not have copies of these emails even though I have copies of other emails received from Mr.

 9    Bonsignore during this same time period. Second, these emails appear to be cut and pasted

10    together. Third, the emails do not say what Mr. Bonsignore claims they say.

11            28.    I have never refused to add a viable plaintiff to this case. I have never excluded a

12    viable plaintiff from this case. I have never committed to add a viable plaintiff to this case and

13    then not done so. I never asked Mr. Bonsignore to hold plaintiffs in reserve. I never made a

14    promise to Mr. Bonsignore of any specific involvement in this case. I do recall a conversation

15    with Mr. Bonsignore in which he inquired into his possible fee for working on this case. I told

16    him that fees, if any, could not be determined until the end of the case. I never told him that I

17    figure my time at the end of the case, and that is not the case. I have maintained

18    contemporaneous time records throughout the entire case. I will make these time records

19    available to the Special Master for review upon request.

20            29.    Mr. Bonsignore has been sanctioned by a California court for engaging in

21    improper conduct in another class action. Attached hereto as Exhibit E is a true and correct copy

22    of an Order for Sanctions Under CCP 2023.030. The order sanctioning Mr. Bonsignore requires

23    him to disclose in a Pro Hac Vice application that he has been subject to disciplinary action by a

24    California court. Mr. Bonsignore failed to comply with this order in this case.

25    Moore

26            30.    Ms. Moore submitted a total lodestar of almost $220,000 despite having no client

27    and no work assignments from me or anyone in my office.

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 1           31.     The Audit Committee reviewed Ms. Moore’s time sheets and requested that Ms.

 2    Moore remove time that did not comport with the instructions given to all counsel. Ms. Moore

 3    re-submitted her time but only removed a very small amount of time and recast certain entries in

 4    an attempt to obscure the fact that they included time that is not compensable. The Audit

 5    Committee removed the problematic time entries and informed Ms. Moore of her revised

 6    lodestar. Ms. Moore refused to accept the cuts to her lodestar. Attached hereto as Exhibit F 1-

 7    F-5 are true and correct copies of correspondence exchanged between the Audit Committee and

 8    Ms. Moore.

 9           32.     Before the cuts were made to Ms. Moore’s lodestar, and after she had reviewed

10    the motion for preliminary approval, Ms. Moore indicated that she approved the Proposed

11    Settlements. In an email to my associate, Lauren Capurro, dated July 29, 2015, Ms. Moore

12    stated: “Thanks [sic] you very much, Congratulations and thank you for all your hard work over

13    this extended period of time. Great job.” Attached as Exhibit F-3 is a true and correct copy of

14    that email. Ms. Moore has never filed a motion for attorneys’ fees.

15    Cooper

16           33.     In the entire eight-year duration of this case, I never made any work assignments

17    to Mr. Cooper and Mr. Cooper never submitted any time to me. Mr. Cooper did no substantive

18    work in this case.

19           34.     Mr. Cooper’s then associate (now partner) John Bogdanov billed a substantial

20    number of hours in this case. His role was limited, however, to discovery related to two

21    defendants (Philips and LPD). Mr. Cooper’s law partner Tracy Kirkham performed a small,

22    discrete work assignment early in the case.

23           35.     The Audit Committee did not make any cuts to Mr. Cooper’s firm’s lodestar.

24    Massachusetts

25           36.     Special Master Legge dismissed the Massachusetts claim because IPPs did not

26    wait 30 days after serving a demand letter on Defendants. We did not believe it was necessary to

27    wait 30 days because it served no practical purpose in this case—by that time (May 2010),

28    Defendants had had notice of IPPs’ Massachusetts claim since for 2 ½ years and had not made a
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 1     settlement offer. The purpose of a Chapter 93A demand letter is to encourage negotiation and

 2     settlement of claims arising from allegedly unlawful conduct and to allow the defendant to limit

 3     the damages a plaintiff might recover by making a reasonable offer of settlement. See Billingham

 4     v. Dornemann, 447 Mass. 1113 (2006). No Defendant expressed any interest in discussing

 5     settlement and no Defendant requested more time to do so after receiving the demand letter.

 6            37.      Mr. Bonsignore claims that his client Mr. Gianasca was “vetted [and] ready to

 7     serve” as the Massachusetts representative. (Dkt. No. 4144, at p. 4.) This is false. After the

 8     filing of the initial complaints, Mr. Bonsignore and Mr. Gianasca, never responded to our

 9     requests for information necessary for initial disclosures and failed to complete the questionnaire

10     designed to vet potential class representatives. They failed to even provide us with basic

11     information regarding Mr. Gianasca’s claimed purchase of a CRT product. As a result, Mr.

12     Gianasca was not named in the consolidated amended complaint. I assumed Mr. Gianasca no

13     longer wished to serve as the Massachusetts representative and Mr. Bonsignore never informed

14     me otherwise.

15            38.      Ms. Moore never informed me that she had a Massachusetts client. However, in

16     conjunction with recent proceedings in this case, Ms. Moore has stated that she has represented

17     clients in Missouri and Massachusetts for close to 15 years.

18     Missouri

19            39.      IPPs never asserted a Missouri claim because no Missouri plaintiff came forward

20     to represent a Missouri class, and the law of the case prevented me from asserting a Missouri

21     claim without a Missouri class representative.4

22            40.      Mr. Bonsignore’s claims that he presented me with a viable Missouri class

23     representative in March 2012 are highly questionable. I have no record of this communication

24     and it does not appear to be authentic. The email itself contains no information regarding Mr.

25     Perriman and his suitability as a class representative or his claimed television purchase. For

26

27
       4
        See Dkt. No. 768, p.5-6 (R&R dismissing state law claims were no plaintiff resided); and Dkt.
28     No. 799 (Order adopting R&R).
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 1     example, at a minimum, class representatives had to have proof of purchase. Further, my

 2     previous experience with Mr. Bonsignore in this case indicated his claims that he represented

 3     possible class representatives were unreliable.

 4            41.     At the beginning of this case, Mr. Bonsignore claimed to represent class

 5     representatives for Arizona, Massachusetts, Mississippi and Rhode Island. But when we asked

 6     Mr. Bonsignore to provide information from these plaintiffs necessary for initial disclosures, and

 7     to complete a questionnaire designed to vet them for inclusion in the consolidated amended

 8     complaint, Mr. Bonsignore failed to respond. As a result, none of these plaintiffs were included

 9     in the consolidated amended complaint. And, even if it were true that Mr. Bonsignore had a

10     viable Missouri class representative in 2012, there was nothing to stop Mr. Bonsignore from

11     filing a case on behalf of Missouri. He failed to do so.

12     New Hampshire

13            42.     IPPs never asserted a New Hampshire claim because no New Hampshire plaintiff

14     came forward to represent a New Hampshire class, and the law of the case prevented Lead

15     Counsel from asserting a New Hampshire claim without a New Hampshire class representative.

16            43.     Mr. Bonsignore’s claims that he notified Lead Counsel of a viable New

17     Hampshire class representative are highly questionable for the same reasons as Missouri. Indeed,

18     the email from Ms. Jorgenson indicates that she did not have proof of purchase.

19                                               *       *        *

20            44.     Certain objectors criticize me for failing to approach attorneys general of these

21     other states. I was appointed Lead Counsel to represent the interests of purchasers in the 22

22     indirect purchaser state classes. As Lead Counsel I have no duty to represent purchasers in other

23     states, and the objectors cite to no authority requiring Lead Counsel to approach state attorneys

24     general with regard to the claims of those states’ residents. Nonetheless, I in fact notified several

25     attorneys general when the complaints were filed, and when IPPs entered into settlements with

26     Chunghwa and LG, it is my understanding that those Defendants sent notice to all state attorneys

27     general pursuant to the Class Action Fairness Act of 2005, 28 U.S.C. § 1332(d).

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 1             45.     Contrary to the claims of Messrs. Cooper and Scarpulla, I engaged in settlement

 2     negotiations with Defendants throughout the litigation. At the time of Judge Walker’s R&R

 3     (Dkt. No. 3200), I had settled with three of the Defendants and was actively negotiating with

 4     other Defendants. All of the settlement negotiations were hard-fought and conducted before

 5     Judge Walker or Judge Fern Smith.

 6             46.     IPPs were forced to intervene in the California Attorney General’s case because

 7     Philips took the position that its settlement with the AG released the claims of California natural

 8     persons in this case. Had we not challenged the approval of that settlement, Philips would have

 9     had a strong argument at summary judgment that those claims were released.5 In my opinion,

10     IPPs’ ultimate settlement of $175 million from Philips supports the merits of our position vis-à-

11     vis Philips, namely that the release of California natural persons’ claims for less than $500,000

12     was not fair, reasonable or adequate. Our actions preserved the claims of California natural

13     persons and increased the ultimate settlement from Philips.

14             47.     My office, with the assistance of former Michigan Deputy Attorney General Paul

15     Novak, is working with the California Attorney General’s (“CA AG”) office to address the

16     Attorney General’s conditional objection to the notice program and the plan of distribution.

17             48.     Attached as Exhibit G is a true and correct copy of page 15 of California’s Reply

18     to Opposition of Objector Jeffrey Figone to Motion for Final Approval of the Philips Settlement,

19     filed October 30, 2013 in The State of California v. Chunghwa Picture Tubes, Ltd., No. CGC-11-

20     515786, San Francisco Superior Court. In this document, the California Attorney General states

21     that the scope of the release in the AG’s settlement agreement with Philips “does not cover class

22     claims” under the parens patriae and other causes of action she alleged, where, as in this MDL,

23     “there is a certified class.”

24             49.     I was counsel in the case entitled Thayer v. Wells Fargo Bank. My co-counsel and

25     I obtained free checking privileges for life for a class of Wells Fargo Bank customers. I received

26
       5
27       Philips moved for summary judgment on California natural persons’ claims, arguing that the
       judgment approving its settlement with the California Attorney General released those claims.
28     (See Dkt. No. 3034.)
                                             11
       DECLARATION OF MARIO N. ALIOTO IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’ MOTION
           FOR FINAL APPROVAL OF CLASS ACTION SETTLEMENTS - Master File No. CV-07-5944-JST
     Case 4:07-cv-05944-JST Document 4370-1 Filed 02/04/16 Page 13 of 54



 1     a fee award from the court, plus a multiplier. The defendant Wells Fargo Bank paid the fee in the

 2     full amount. I had no further involvement in that case, and was not involved in any way in the

 3     appeal of that case.

 4            I declare under penalty of perjury that the foregoing is true and correct. Executed this

 5     19th day of November 2015 at San Francisco, California.

 6

 7                                                  /s/     Mario N. Alioto
                                                            Mario N. Alioto
 8
                                                    Lead Counsel for the Indirect Purchaser Plaintiffs
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                                             12
       DECLARATION OF MARIO N. ALIOTO IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’ MOTION
           FOR FINAL APPROVAL OF CLASS ACTION SETTLEMENTS - Master File No. CV-07-5944-JST
Case 4:07-cv-05944-JST Document 4370-1 Filed 02/04/16 Page 14 of 54




              EXHIBIT A
                Case 4:07-cv-05944-JST Document 4370-1 Filed 02/04/16 Page 15 of 54


Lauren Capurro (Russell)

From:                             Lauren Capurro (Russell) <LaurenRussell@tatp.com>
Sent:                             Wednesday, May 27, 2015 9:02 PM
To:                               'tstack@rcalaw.com'; 'MMurphy@baileyglasser.com'; 'mmuecke@BFFB.com';
                                  'AMeyer@ForThePeople.com'; 'David Syrios'; Ike Diel; John D. Bogdanov; 'essenma2
                                  @yahoo.com'; 'dkaron@karonllc.com'; 'smansfield@foleymansfield.com'; 'Bob
                                  Methvin'; 'joel@lkwfirm.com'; 'rbonsignore@class-actions.us'; Sylvie Kern
                                  (sylviekern@yahoo.com); 'lgpapale@papalelaw.com'; 'JWyatt@wyattlaw.net';
                                  'Joel@jeffrieslaw.com'; 'Brent Irby'; 'mkirkpatrick@vtlawfirm.com'; 'Kevin@facslaw.com';
                                  msimon@facslaw.com; Jennie Lee Anderson; dbirkhaeuser@bramsonplutzik.com;
                                  Jennifer Rosenberg; Christopher T. Micheletti (CMicheletti@zelle.com); ncihlar@straus-
                                  boies.com; Diane Pritchard; 'pnovak@milberg.com'; Sylvie Kern
                                  (sylviekern@yahoo.com); Bob Gralewski; Brian S. Umpierre
Cc:                               malioto@tatp.com; 'jpatane@tatp.com'
Subject:                          In Re: Cathode Ray Tube (CRT) Antitrust Litig., MDL No. 1917/Letter dated May 27,
                                  2015
Attachments:                      Letter dated May 27, 2015.pdf; Final CRT IPP Mtn for Preliminary Approval 5.27.15.pdf


Dear Counsel:

Please see the attached letter from Mario Alioto.

Best regards,

Lauren

Lauren C. Capurro (Russell)
Attorney at Law
Trump, Alioto, Trump & Prescott, LLP
2280 Union Street
San Francisco, CA 94123
Tel: (415) 563‐7200
Direct line: (415) 447‐1496
Cell: (415) 860‐5051
Fax: (415) 346‐0679
E‐mail: laurenrussell@tatp.com

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                                                            1
  Case 4:07-cv-05944-JST Document 4370-1 Filed 02/04/16 Page 16 of 54

                        Trump Alioto Trump & Prescott
                                   ATTORNEYS LLP
                                    2280 Union Street
                              San Francisco, California 94123
                                      (415) 563-7200
                                   FAX (415) 346-0679

                                      May 27, 2015

CONFIDENTIAL WORK PRODUCT COMMUNICATION
VIA EMAIL

To:    All Indirect Purchaser Plaintiffs’ Class Representatives’ Counsel

Re:    In Re: Cathode Ray Tubes (CRT) Antitrust Litigation, MDL 1917

Dear Counsel:

       I am very pleased to inform you that we have entered into settlement agreements
with the Philips, Panasonic, Hitachi, Toshiba and Samsung SDI Defendants. These
Defendants have agreed to pay a total of $528 million to settle our claims against them.

        As you know, two defendants (Chunghwa and LGE) had previously agreed to pay
$35 million to settle our claims against them. Thus, the total settlement fund in this
matter is $563 million.

       This is an excellent result that would not and could not have been achieved
without the hard work and participation of you and your client(s). Thank you for your
and your clients’ efforts on behalf of consumers in their states.

        We will be moving for preliminary approval of these recent settlements shortly.
We have attached a copy of the memorandum in support of the motion for your review.
The memorandum contains additional details regarding the settlements, the notice plan
and the plan of distribution. If you or your client(s) have any questions or concerns,
please do not hesitate to contact me (malioto@tatp.com) or Lauren Capurro of my office
(laurenrussell@tatp.com).

        Please know and advise your client(s) that, pursuant to the terms of the settlement
agreements, the terms of these recent settlements are confidential until the preliminary
approval motion is filed. In addition, the case is ongoing and we ask that you not make
public statements about the case or talk to reporters.

         I look forward to continuing to work with you as we work toward final resolution
of this case.

                              Sincerely,

                              /s/ Mario N. Alioto
                              Lead Counsel for the Indirect Purchaser Class
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              EXHIBIT B
      Case 4:07-cv-05944-JST Document 4370-1 Filed 02/04/16 Page 18 of 54



From: Mario Alioto [mailto:MAlioto@TATP.com]
Sent: Friday, September 18, 2015 5:35 PM
To: 'Francis Scarpulla'
Subject: RE: CRT/Inclusion of Your Time in the Fee Petition




I’m sorry you were not able to speak with me regarding the inclusion of your time in the fee
petition.



We understand that you have also declined to speak with Bob Gralewski regarding your fee
declaration and your time. Bob is a member of the audit committee that has been contacting all
firms to discuss their time and ensure that the fee declarations are submitted in accordance with
Lead Counsel’s instructions (see attached letter). The audit committee has been cutting certain
categories of time from all firms according to a number of rules (most of which were included in
the attached letter):



1. Time spent on the lead counsel motions is to be removed on the grounds that this work did
not benefit the class;

2. Read and review time that was not done in connection with a specific assignment from Lead
Counsel, on the grounds that it is duplicative of work done by other counsel;

3.   Other time that was unassigned or has not been approved by Lead Counsel; and

4.   Internal case management time, such as organizing internal files.



Your firm’s time, like many firms, includes some of the aforementioned categories of time.
Since all other firms have agreed to remove these categories of time, we cannot make an
exception for you.



In addition, we asked that all firms submit their time at historic rates. You did not do this. You
have submitted all of your time at your current rate of $1250 per hour. We cannot submit all of
your time at current rates since no other firm is doing this. Moreover, your current rate is far
higher than that of any other attorney who worked on this case.




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Finally, you also did not include the lodestar summary chart that we asked all firms to submit
(and which many courts require), and instead attached your daily time sheets.



Since you have not submitted your fee declaration in accordance with our instructions, and you
have refused to speak with us regarding changes to your declaration and your time, we cannot
include your fee declaration in the joint fee petition. We will, however, be including $64,708.75
in lodestar for your firm in the joint fee petition. Based on the audit committee’s review of your
time sheets, we have determined that you have 59.05 hours of compensable time. We applied
the historic rates listed in your timesheets to calculate your lodestar.



Having said all of that (which was provided to me by the audit committee), I would like to
include as much of your time as we can under the rules set out above. There have been a number
of instances where we have questioned the time of other firms and ultimately allowed it after
discussing it with them. So please call me so we can do this with your time. Thanks.

Mario N. Alioto

TRUMP, ALIOTO, TRUMP & PRESCOTT, LLP

2280 Union Street

San Francisco, CA 94123

Telephone:415 447-1650

Facsimile:415 346-0679



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              EXHIBIT C
            Case 4:07-cv-05944-JST Document 4370-1 Filed 02/04/16 Page 21 of 54


  From: Francis Scarpulla fos@scarpullalaw.com
Subject: Re: conference re CRT
   Date: September 3, 2015 at 3:08 PM
     To: Bob Gralewski bgralewski@kmllp.com
    Cc: Cate Cusick cpc@scarpullalaw.com, Dan Hume dhume@kmllp.com


I don't think there is anything to discuss. If my time is not included I'll file my own petition.




On Sep 3, 2015, at 2:35 PM, Bob Gralewski <bgralewski@kmllp.com> wrote:

 Fran,

 I never heard back from you.

 We want to include your time in the fee petition but we need to discuss it with you first. That conversation needs
 to happen today or tomorrow. When do you have time to talk? I’m always reachable on my mobile - 619-818-
 6255. You could start with my office number first - 619-398-4340. Or give me a time and number that works for
 you and I’ll call you.

 Thanks Fran.

 Bob

   On Aug 31, 2015, at 10:03 AM, Bob Gralewski <bgralewski@kmllp.com> wrote:

   Fran,

   Sorry we didn’t connect last week. How does today look for you? I’m available all day. Let me know.

   I’d like to discuss our fee petition. We all want to include you and your time in it, and I want to understand if
   that’s what you want as we have a hard deadline approaching. I also want to discuss your request for everyone's
   time detail.

   Hope to talk today.

   Bob

     On Aug 27, 2015, at 7:38 AM, Francis Scarpulla <fos@scarpullalaw.com> wrote:

     Today is not good for me. Tomorrow I have commitments for the last day my daughter is with us before
     returning to Rome.

     What is it you want to discuss about CRT?




     On Aug 27, 2015, at 7:07 AM, Bob Gralewski <bgralewski@kmllp.com> wrote:

         Sorry for the delay in replying. Busy day yesterday.

         How about:

         today at 12:30 pm Pacific
         today at 6:00 pm Pacific or
         tomorrow at 8:00 am Pacific
   Case 4:07-cv-05944-JST Document 4370-1 Filed 02/04/16 Page 22 of 54


When we land on a date/time, let’s use:

866-398-2885
175-973#

Look forward to hearing back and talking.

 On Aug 25, 2015, at 4:20 PM, Cate Cusick <cpc@scarpullalaw.com> wrote:

 Mr. Gralewski,

 Fran said he could speak with your regarding the above-referenced ma>er. Would you please
 contact your colleague and let me know three dates/Ames that are available to each of you,
 and I will have Fran coordinate with you, unless Fran decides to contact you directly through
 this shared email.

 Thank you.

 Cate Cusick
 Law Oﬃces of Francis O. Scarpulla
 (415) 788-7210
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              EXHIBIT D
In Re: Cathode Ray Tube (CRT) Antitrust Litigation (MDL No. 1917) -Update I Bonsign ...                                                                                Page 1of2
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          In Re: Cathode Ray Tube (CRT) Antitrust Litigation (MDL No. 1917) -Update                                                             HOME CHTTP://CLASS-
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       AUGUST 31ST BY ADMIN (HTTP:llCLASS-ACTIONS.US/AUTHORIADMINI) t9 0   •o                                                  Speak to an Attorney Toll Free
       Bonsignore Trial Lawyers announces that notice of the CRT Settlements has been published in
       accordance with the notice plan approved by the Court during August 2015. Class members may                             Call (866) 692-1745
       now file claims on the settlement website,www.CRTclaims.com(http://www.crtclaims.com/).

       Consumers who purchased CRT televisions or computer monitors between INSERT DA TE TO
       INSERT DATE may now file claims. Ifin doubt if your purchase was made in a state that was
       included in the settlement, refer to the Settlement FAQ, contact the Claims Administrator or
       honestly fill out the claim form.

       There is a simple online claim form, which is available on the website and should only take a
       few minutes for an individual consumer to complete and submit. The claim form does not
       require proof of purchase, and we anticipate paying each claimant a minimum of $25.



      The online claim form, which is available on the website, is said to be the easiest and fastest                             BONSIGNORE
      method to submit a claim. The claim form can also be downloaded from the website and
      completed in hard copy and submitted by mail.                                                                               TRIAL LAWYERS"'
                                                                                                                                              EST 1985
      Click here for a a copy of the claim form. (http://class-actions.us/wp-
      content/uploads/2013/06/CRT_CLAIM_FORM_Final. pdf)

        (http:!/class-actions. us/wp-content/uploads/2013/06/CRT_CLAIM_FORM_Final. pdf)

      There is a list of Frequently Asked Questions and responses on the website that should answer                            Get a Free Consultation
      any questions that you or potential claimants may have.
                                                                                                                               Contact us for a free, no obligation!
                                                                                                                               Name (required)
      This claim process is intended to make sure that the settlement funds are properly paid to the
      consumer class members who were injured by the CRT conspiracy.



      Related Posts                                                                                                            Email (required)

         Investigating case on behalf of all current and former professional soccer players

         BONSIGNORE INVESTIGATING CASE ON BEHALF OF ALL CURRENT AND                                                            Phone (required)
         FORMER PROFESSIONAL SOCCER PLAYERS who from 2002 to the present played
         professional soccer for a team governed by FIFA, the United States Soccer Federation, or
         Major League Soccer.




http://class-actions.us/crt-settlements-update/                                                                                                                        11/19/2015
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              EXHIBIT E
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           EXHIBIT F-1
                Case 4:07-cv-05944-JST Document 4370-1 Filed 02/04/16 Page 36 of 54


Lauren Capurro (Russell)

From:                         Lauren Capurro (Russell) <LaurenRussell@tatp.com>
Sent:                         Wednesday, June 24, 2015 10:45 PM
To:                           Alexander E. Barnett; Bob Gralewski; Brent Irby; Brian Sund; bribarry1@yahoo.com;
                              Bruce Mulkey; CCORBITT@zelle.com; Charles M. Kester; Christopher T. Micheletti
                              (CMicheletti@zelle.com); Christy Crow; clovell@lshllp.com;
                              craigessenmacher@yahoo.com; D. Syrios (dsyrios@ademilaw.com); Dan Gustafson;
                              Daniel Hume; Daniel Karon; David Freedman; dbirkhaeuser@bramsonplutzik.com;
                              Dennis J. Stewart (dstewart@hulettharper.com); Diane Pritchard; Donald Amamgbo
                              (donald@amamgbolaw.com); Donna Solen; Eric Hoagland; Eric Pickar; Francis Scarpulla;
                              Frank Balint; Guri Ademi; Ike Diel; James H. McManis (jmcmanis@mcmanislaw.com);
                              Janelle Welling; Jeff Crabtree; Jeffrey Bartos; Jennie Lee Anderson; 'Joe Goldberg'; Joel
                              Flom; Joel Smith; John D. Bogdanov; John G. Felder, Jr.; Josef D. Cooper;
                              jpatane@tatp.com; jzahid@zelle.com; Kit Belt; knarine@kbnlaw.com;
                              kvalinoti@valinoti-dito.com; laurenrussell@tatp.com; LGPapale@Papalelaw.com;
                              malioto@tatp.com; Marvin A. Miller; Marwa Elzankaly (melzankaly@mcmanislaw.com);
                              Mary Kirkpatrick; Matthew Duncan; msimon@facslaw.com; ncihlar@straus-boies.com;
                              Paul Novak; ReggieT2@aol.com; Richard F. Horsley; Robert Bonsignore; Robert
                              Bonsignore; Robert G. Methvin; Robert Gerard; Robert Pohlman; Robert S. Green;
                              Rodney Ray; S. Randall Hood (rhood@mcgowanhood.com); sademi@ademilaw.com;
                              Seymour Mansfield; Sheri Carter (scarter@straus-boies.com); Sherman Kassof;
                              skupfer@glancylaw.com; Sylvie Kern (sylviekern@yahoo.com); terry@grossbelsky.com;
                              Theresa Moore; Thomas A. Doyle; Timothy Battin; Veronica Besmer; W. Timothy
                              Needham
Cc:                           malioto@tatp.com
Subject:                      CRT/Time & Expense Reports for Fee Petition
Attachments:                  Letter dated 6.24.2015.pdf; CRT IPP Time & Expense Report Template.xls; CRT Example
                              Fee Declaration.doc


Dear Counsel:

Please see attached.

Best regards,

Lauren

Lauren C. Capurro (Russell)
Attorney at Law
Trump, Alioto, Trump & Prescott, LLP
2280 Union Street
San Francisco, CA 94123
Tel: (415) 563‐7200
Direct line: (415) 447‐1496
Cell: (415) 860‐5051
Fax: (415) 346‐0679
E‐mail: laurenrussell@tatp.com


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                       Trump Alioto Trump & Prescott
                                  ATTORNEYS LLP
                                   2280 Union Street
                             San Francisco, California 94123
                                     (415) 563-7200
                                  FAX (415) 346-0679

                                      June 24, 2015

CONFIDENTIAL WORK PRODUCT COMMUNICATION
VIA EMAIL

To:    All Indirect Purchaser Plaintiffs’ Class Counsel

Re:    In Re: Cathode Ray Tubes (CRT) Antitrust Litigation, MDL 1917

Dear Counsel:

      As you know, we have filed a motion for approval of settlements with Philips,
Panasonic, Hitachi, Toshiba, Samsung SDI, Thomson and Technologies Displays
America.

       We intend to file a motion for attorneys’ fees and reimbursement of expenses in
connection with these settlements at the appropriate time. The exact timing will depend
on when the Court grants preliminary approval of the settlements and when notice to
class members is published.

       Therefore, please make sure that your firm’s time and expense reports are
complete and up to date for the time period: Inception through May 31, 2015. At this
time we are asking all firms to submit the following:

           1. Summary time sheet listing each attorney’s and non-attorney’s time by
              year, in categories, using historical rates (see attached Excel template).
              We also ask that you provide a lodestar based on current billing rates,
              which we will report for comparison.
           2. Detailed backup timesheets showing your daily time entries.
           3. Cost summary using the attached template.
           4. Signed Declaration (see attached template).

       We will be reviewing your backup timesheets and expense summary. Please
review your firm’s time reports and eliminate any time for (1) work performed without
authorization of Lead Counsel, including attendance at hearings or depositions that you
were not specifically assigned to attend; (2) case management; and (3) “read and review”
time that was not incurred in connection with a specific work assignment, or for which
you cannot show the purpose of the review.

       When submitting expenses, we ask all firms to do the following:
  Case 4:07-cv-05944-JST Document 4370-1 Filed 02/04/16 Page 40 of 54
IPP Class Counsel
June 24, 2015
Page 2 of 2

            1. Any first class or business class airfare must be reduced to the equivalent
               of a non-refundable coach fare.
            2. Excessive travel costs should be reduced (hotel, ground travel, etc.).
            3. All in-house copy charges should be capped at $0.20 per page.

       Please email the above requested documents no later than July 27, 2015, to
Stephen J. Pelleriti at sjpcpa@earthlink.com and Lauren C. Capurro at
laurenrussell@tatp.com. It is essential that you provide the requested information by the
deadline if you want to be included in the joint fee petition.

                               Sincerely,

                               /s/ Mario N. Alioto
                               Lead Counsel for the Indirect Purchaser Class
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           EXHIBIT F-3
              Case 4:07-cv-05944-JST Document 4370-1 Filed 02/04/16 Page 42 of 54


Lauren Capurro (Russell)

From:                             Theresa Moore <tmoore@aliotolaw.com>
Sent:                             Monday, August 17, 2015 5:43 PM
To:                               Lauren Capurro (Russell)
Cc:                               malioto@tatp.com
Subject:                          Re: CRT/Time & Expense Reports for Fee Petition


Hi Lauren-
I will double check everything when I get back to town. Just to clarify a couple things, as it states in my
Declaration this is for me only not “my firm” Alioto Law Firm.

Just so you know I have never charged in any case, including this one, for looking at PHV motions or
inconsequential Motions to Seal, and am not sure where you ( or whomever) got that impression, perhaps there
was a mistaken assumption that the reviews were simultaneous to the time of filings? I don’t know but just so
you know that is not how I bill, and it is not at all reflected in this bill. I do have a responsibility to clients, and
do not remotely have things of that nature included.

I believe Ex 2 was the one you sent me to fill out which had all years.

With me being out of town Friday is tough timing, but the bill is small, so I would hope to get it out to you in
time.

Thanks,
Theresa




        On Aug 17, 2015, at 5:15 PM, Lauren Capurro (Russell) <LaurenRussell@tatp.com> wrote:

        Theresa:

        The audit committee has reviewed your fee declaration and your firm’s time sheets and, pursuant to the
        instructions to all IPP counsel in our original June 24, 2015 letter, we ask that you remove the following
        categories of time entries:

            1. Unassigned read and review time: there is a significant amount of time spent reviewing ECF
               filings for which your firm had no related assignment. Indeed, many of the entries relate to
               inconsequential filings, such as PHV applications and motions to seal. We cannot include this
               time in our fee petition because it is duplicative of time spent by lead counsel and the attorneys
               assigned to, for example, work on a particular motion. It also provided no benefit to the
               Class. In accordance with standard practice in these cases, we need to be able to represent to
               the court that duplicative, unnecessary time has been eliminated.
            2. Unassigned time: there is also a significant amount of time spent meeting with unidentified co‐
               counsel regarding the status of the case, conducting research etc. Unless you had a specific
               assignment (which we don’t believe you did), we cannot include this time in our fee
               petition. Again, this time is duplicative and unnecessary unless it was assigned by lead counsel.
                                                            1
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    3. Time after May 31, 2015: we have instructed everyone to only include time up to May 31,
         2015. Please remove all time after that date.

We have also decided not to include time spent on the lead counsel motions in our fee petition
(including our own firm’s time), on the grounds that such time did not benefit the Class. Please remove
all of your firm’s time devoted to the lead counsel motions as well.

Finally, Exhibit 2 of your declaration should include the lodestar charts by year as well as the summary of
all years. The Court needs to be able to see the rates charged.

All of the above rules are being applied to all IPP counsel in this case. We must be consistent because it
would be unfair if we allowed some firms to include these categories of time and not others. It is also in
the interests of all firms that our joint fee petition be as clean as possible so that we can moot any
possible objections.

If you want us to include your firm’s time in the joint fee petition, we must receive your revised
declaration and time sheets by COB this Friday, August 21, 2015. This is a hard deadline. We will not
include your time if we don’t hear from you by then.

Thank you for your prompt attention to this matter.

Best regards,

Lauren


Lauren C. Capurro (Russell)
Attorney at Law
Trump, Alioto, Trump & Prescott, LLP
2280 Union Street
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From: Theresa Moore [mailto:tmoore@aliotolaw.com]
Sent: Sunday, August 02, 2015 9:56 PM
To: Lauren Capurro (Russell)
Cc: sjpcpa@earthlink.com; malioto@tatp.com
Subject: Re: CRT/Time & Expense Reports for Fee Petition

…and here they are attached this time! in pdf.
Thanks,
Theresa

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 On Jul 30, 2015, at 11:15 AM, Lauren Capurro (Russell)
 <LaurenRussell@tatp.com> wrote:

 Thanks, Theresa. I don’t see your daily time sheets in what you sent me. Can you
 please send those? Thank you.

 Lauren

 From: Theresa Moore [mailto:tmoore@aliotolaw.com]
 Sent: Wednesday, July 29, 2015 6:07 PM
 To: Lauren Capurro (Russell); sjpcpa@earthlink.com
 Cc: malioto@tatp.com
 Subject: Re: CRT/Time & Expense Reports for Fee Petition

 Lauren-
 I had this calendared for July 29, and just realized your letter states the 27th, I
 expect that is not an issue.
 Attached please find the requested documents, my Declaration with Exhibits and
 time sheets, as well as the complete excel spreadsheet. This Declaration is for
 myself only and not the entire firm.

 Thanks you very much, Congratulations and thank you for all your hard work
 over this extended period of time. Great job.
 Best,
 Theresa




 Theresa D. Moore
 Attorney at Law

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      On Jun 24, 2015, at 10:44 PM, Lauren Capurro (Russell)
      <LaurenRussell@tatp.com> wrote:




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           EXHIBIT F-4
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Lauren Capurro (Russell)

From:                             Lauren Capurro (Russell) <LaurenRussell@tatp.com>
Sent:                             Thursday, August 27, 2015 5:20 PM
To:                               'Theresa Moore'
Cc:                               malioto@tatp.com
Subject:                          RE: CRT Time and Expense Reports for Fee


Theresa:

The audit committee has reviewed your revised declaration and time sheets. Your time still includes the following
categories of work that the audit committee has decided are not compensable and will not be included in the joint fee
petition:

    1. Time spent on the lead counsel motions;
    2. Unassigned conferences/research with non‐lead counsel; and
    3. Unassigned read and review time, which was not for the purpose of updating a client and no work product was
       ever provided to lead counsel for the benefit of the Class.

Therefore, we have removed these categories of time and calculated the number of hours that we are prepared to
include in the joint fee petition as follows:

2007: 9.5 hours x $600 = $5700.00
2008: 23.75 hours x $725 = $17,218.75 (category 1 = 12 hours; category 3 = 1.1. hours; category 9 = 5 hours; category 10
= 5.65)

Total lodestar: $22,918.75

All of the cuts we have made to your time are consistent with the cuts made to other firms’ time.

If you want to be included in the joint fee petition, please amend your declaration and resubmit my COB
tomorrow. Thank you.

Lauren


Lauren C. Capurro (Russell)
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From: Theresa Moore [mailto:tmoore@aliotolaw.com]
Sent: Friday, August 21, 2015 2:11 PM
To: LaurenRussell@tatp.com
Subject: CRT Time and Expense Reports for Fee

Lauren:
As requested, attached is the revised CRT Declaration with Ex 1 and Ex 2, along with the daily time records.

Best Regards,

Theresa



Theresa D. Moore
Attorney at Law

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           EXHIBIT F-5
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Lauren Capurro (Russell)

From:                              Theresa Moore <tmoore@aliotolaw.com>
Sent:                              Friday, August 28, 2015 5:05 PM
To:                                Lauren Capurro (Russell)
Subject:                           CRT Time and Expense Reports for Fee
Attachments:                       CRT Decl TDM 8.28.15.pdf


Lauren-
As requested. Attached.



Theresa

Theresa D. Moore
Attorney at Law

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              EXHIBIT G
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